 

Case 1:19-cv-02481 Document 1 Filed 08/30/19 USDC Colorado Page1lofi2-—- — — -

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No.

 

(To be supplied by the court)

Jack M. Delaney

Vv.

Lowe's Companies, Inc.

 

 

, Defendant(s).

FILED
US. DISTRICT CouRT
VISTRICT CF COLORADO

(List each named defendant on a separate line. If you cannot fit the names of all defendants in
the space provided, please write “see attached” in the Space above and attach an additional
sheet of paper with the full list of names. The names listed in the above caption must be

identical to those contained in Section B. Do not include addresses here.)

 

EMPLOYMENT DISCRIMINATION COMPLAINT

 

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual’s full social security number or full birth date; the full name of a person
known to be a minor; or a complete financial account number. A filing may include only: the
last four digits of a social security number; the year of an individual’s birth; a minor’s initials;
and the last four digits of a financial account number.

 

 
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A. PLAINTIFF INFORMATION

You must notify the court of any changes to your address where case-related Papers may be

served by filing a notice of change of address. Failure to keep a current address on file with the
court may result in dismissal of your case.

Jack M. Delaney, 7879 Kelty Trail, Franktown, CO 80116

(Name and complete mailing address)

(303) 667-1664 jmjdelaney@gmail.com

(Telephone number and e-mail address)

B. DEFENDANT(S) INFORMATION

Please list the following information Jor each defendant listed in the caption of the complaint. If

more space is needed, use extra paper to provide the information requested. The additional
pages regarding defendants should be labeled “B. DEFENDANT(S) INFORMATION.”

' . !
Defendant 1. LOwe's Companies, Inc., 1000 Lowe's Blvd.
(Name and complete mailing address)

Mooresville, NC 28117

(Telephone number and e-mail address if known)

Defendant 2: (704) 758-1000 info@lowes.com
(Name and complete mailing address)

 

(Telephone number and e-mail address if known)

Cc. JURISDICTION

Identify the statutory authority that allows the court to consider your claim(s): (check all that
apply)

—_.__— Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 20006, et seq.

(employment discrimination on the basis of race, color, religion, sex, or national origin)
x Americans with Disabilities Act, as amended, 42 U.S.C. §§ 12101, et seq. (employment
discrimination on the basis of a disability)

| x<

Age Discrimination in Employment Act, as amended, 29 U.S.C. §§ 621, et seq.
(employment discrimination on the basis of age)

X Other: (please specigy COlorado House Bill 16-1432

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D. STATEMENT OF CLAIM(S)

State clearly and concisely every claim that you are asserting in this action and the specific facts
that support each claim. If additional space is needed to describe any claim or to assert
additional claims, use extra paper to continue that claim or to assert the additional claim(s).

Please indicate that additional paper is attached and label the additional pages regarding the
statement of claims as “D. STATEMENT OF CLAIMS.”

CLAIM ONE: ADEA

The conduct complained of in this claim involves the following: (check all that apply)

failure to hire different terms and conditions of employment

failure to promote ___ failure to accommodate disability

X termination of employment x retaliation
X

other: (please specif) Grade, L-7 (Perm) to L-1 (Temp)

Defendant’s conduct was discriminatory because it was based on the following: (check all that
apply)

race religion national origin X age

__ color ____ sex DK disability
Supporting facts: ye
See attached addendum
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CLAIM TWO: ADA

The conduct complained of in this claim involves the following: (check all that apply)

___ failure to hire __— different terms and conditions of employment

____ failure to promote ___ failure to accommodate disability
x termination of employment X etal

retaliation

X other: (please specigy OFade, L-7 (Perm) to L-1 (Temp

Defendant’s conduct was discriminatory because it was based on the following: (check all that
apply)
___ race ___ religion ___ national origin __ age
____ color ___ Sex x disability
Supporting facts:

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Supporting facts: 16-43 A

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Addendum: Statement of Claims

1. After retiring from a successful lifelong career as a Research Scientist in the
Chemical Industry, at the age of 75, | joined Lowe’s Companies (located at
10000 Twenty Mile Road, Parker, Colorado 80134) as a Temporary Seasonal
Associate (Level-1) on or about 4/2/2012 --- mixing paint, unloading pallets
and stocking shelves.

2. By all accounts, | proved to be an exceptional employee and on or about
8/15/2012 | was offered a promotion to Permanent Electrical Associate
(Level-2). Over the next several years, | received several awards, and | was
frequently listed as one of the highest sales performers in the entire area
(monthly reporting). | had multiple formal customer compliments (to
corporate) and never had a single customer complaint --- which is a rarity in
the retail industry, for all of the obvious reasons. There seemed to be a
number of employees about my age early on, but few or none were offered
permanent positions.

3. During this time, | worked primarily in the high volume departments, such
as Paint, Electric, Hardware and Plumbing. | tend to volunteer for odd jobs,
so | eventually became adept at mixing paint colors, cutting blinds,
threading pipe, cutting tile, cutting keys, cutting lumber, electrical
connections and evolved into a mentor for newer or less experienced
Associates.

4. | was repeatedly and rapidly promoted --- ultimately to a Sales Specialist
(Level-7) --- (the highest non-managerial level in the company), and joined a
group of eight (8) Sales Specialists, in a store of 150 employees. Sales
Specialists are the only employees who have the authority to execute and
sign contracts on behalf of Lowe’s. | worked primarily in Millworks, but |
became competent in most of the departments and | frequently helped out
during employee absences or special store needs.

5. On or about 5/15/2015, | had a minor heart issue and was off sick for three
days. When | returned, | was asked by management to complete routine
ADA (Americans with Disabilities Act of 1990) paperwork with the Reed
Group. This did not change my job performance as a Sales Specialist at all
over the next years. My doctors may have been overly protective in
completing the ADA forms, but the bottom line was that | should not lift
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more than about 25 pounds. In practice, | do not recall any time
whatsoever where | needed special help with any lifting where an average,
healthy employee would not need similar assistance.

6. On or about 1/4/2017, such an event occurred. | was asked by a co-worker
to assist him with placing a large sliding double door on an “H” cart to move
elsewhere in the store. The door weighs more than 400 pounds and the
procedure is well thought out and quite routine. The door is tipped at a
45°angle and balanced by one employee while the second employee slides
the cart under the door and it is eased back down and safely moved away.
in the Accident Report, | stated that this very same employee and | had
performed the exact task probably more than 100 times over the years, but
this time it went sour. Instead of gently nuzzling onto the cart, the whole
door toppled sideways and was falling toward me. My instincts out raced
my brain and | sort of tried to hold the weight of the door as it went down -
-- | believe | might have been concerned that it was falling on my partner.
At any rate, the strain tore the meniscus in my right knee with an
unbelievable amount of searing pain. We managed to get the door on the
cart without damage to the door or my coworker, and the incident was
reported to my manager (... who was seated within several feet of us)
within seconds. He summoned the Safety Manager and | received rapid
triage and much TLC from her.

7. | was back to work on crutches within a day or two, but the injury
eventually resulted in multiple cortisone treatments, two surgeries
(attempted meniscus repair and eventually a total knee replacement) and
multiple physical therapy treatments. When | returned to work, | was
restricted from climbing ladders, but | performed all aspects of my job as a
Sales Specialist, just as | had for the previous four years.

8. As a Disabled American Veteran, | have a hearing impairment incurred
while | was a Weapons Instructor in the Marine Corps during the Korean
War. | can hear customers perfectly, since | always position them in a chair
to my left. However there is a loud speaker in the aisle to my right that
plays music which impairs my ability to hear every word distinctly on the
phone when certain songs are played. The VA, FCC and ADA jointly
recommend a captioned call phone to completely alleviate this issue. It is
totally funded by the FCC and | have such a phone at home. | was
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contacted (by the VA, | believe) and they suggested that | could have a
totally free phone installed at my desk, with absolutely no expense to
either Lowe’s or myself. Since my phone at home works so well, |
requested that Lowe’s allow one to be installed at my desk on 1/28/2018. |
followed up every couple of weeks and finally, in May, 2018, my supervisor
said that | would have to file an addendum to my current ADA paperwork. |
did. On or about 5/30/2018, | received a phone call from Sabrina Borhum
of the Reed Group discussing a captioned phone. We discussed my other
claim (and even my Worker’s Comp activity) and she indicated that there
should be no problem with the phone. | have never heard from that
particular ADA request since, one way or the other.

9. In less than two weeks, though, on or about 6/13/2018, | was removed
from my position by the HR Manager and told to remain in the front of the
store. {| was not given a work assignment or even a chair to sit in. My
long time supervisor (Assistant Store Manager David Rangle) was not even
informed. | was not told why this change was being made and | was not
given any paperwork whatsoever. It was a humiliating period in my life.

10.Again in less than two weeks, on or about 6/26/2018, | was summoned into
the HR office for a three-way phone call with Sabrina Borhum of Reed,
Theresa Smith, Lowe’s HR Manager and myself. | was told, more than
once, by Ms. Borhum that | was terminated and | must leave the store
immediately! | asked if there would be any compensation and was told no,
except that | could apply for disability. | asked how this affected my
continuing Worker’s Comp case. Ms. Borhum said that she did not know |
had been on Worker’s Comp and asked to speak privately with Ms. Smith. |
left the room for a few moments and Ms. Smith then informed me that my
termination would be delayed until 6/29/2018.

11.1 documented the conversation that evening and sent a copy to Ms. Smith
via e-mail. | asked for any corrections to the e-mail in the copy to her and |
went further and asked Ms. Smith in person if the document was correct
and she agreed that it was. | asked if | could tape record the call on Friday
6/29/2019 and she agreed. | brought in my tape equipment and we
examined the office phone and we found that everything would fit.

12.0n 6/29/2018, | met with Ms. Smith at the appointed time and | was
surprised to learn that there would be no phone conversation with Ms.
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Borhum. | was asked to close the door and sit down. | hesitated and asked
if the HR Associate could be present as a witness and she said no. | then
asked if | could get a manager to be present as witness and she said OK and
we agreed on two specific managers being present.

13.Shortly thereafter, on 6/29/2019 during the meeting, Ms. Smith said that
the conversation with Ms. Borhum on 6/26/2018 did not take place. She
said my continuing employment had been discussed and that | would be
demoted from Permanent Level Seven (7) to Temporary Level One (1) and
| would be given a dust mask and | would sit on a stool near the front door
and greet incoming customers. | would have no further duties. She was
reading from a document and | asked for a copy --- five times --- to provide
to my attorney and she refused five times. She asked if | accepted the
demotion. | said | could not respond without a copy for my attorney and
she refused again and ended the meeting. | documented the meeting in
precise detail and sent copies to the two managers. | asked each of them if
there were any errors in the account and they did not offer any corrections
or additions.

14.On or about 7/2/2018 | asked to review my Personnel File --- which was ina
cabinet two or three feet from where | was standing at the time. This
normally is done instantly, or within minutes after my signing a written
request, per Colorado House Bill 16-1432. | did sign the request, but the
process was delayed well over three months, forcing me to file a complaint
with the Colorado Attorney General before it was eventually provided --- at
a cost to me of $21.25!
This seems to constitute retaliation for filing an EEOC complaint, so |
requested information surrounding the unusual details. The legal
department has yet to respond.

15.On or about 6/25/2019, | received a letter from Lowe’s suggesting that |
either return to work or provide information to Sedgwick why | cannot
return to work. | immediately consulted with my health care provider and
she said that | could return to my previous position as a Sales Specialist,
Level Seven (7) if the atmosphere meets OSHA health standards for all
customers and employees.
| faxed this information to Sedgwick on 7/3/2019 and | am eagerly awaiting
a reply either from Sedgwick or Lowe’s.
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16.The facts support my claim of discrimination based on age, disability
and/or retaliation. Two individuals who were working in Millworks, for
example, are both working under ADA accommodations and are restricted
from climbing ladders and lifting heavy weights. | am fairly certain that
their accommodations preceded my and they are both at least ten years
younger than I. They are Sales Specialist David Metzler and Lawrence
Manning, who has since become a manager. There is at least one
employee who is in a motorized wheel chair, and he is at least twenty years
younger than I. | know there are at least twenty individuals in the store
(out of ~150) who are under ADA accommodations (for lifting and climbing
and possibly more) and who are ten or more years younger than |. None
have been reduced in grade and made to sit on a stool with a mask. | am ---
or was--- the oldest employee in the store.

| do have information concerning the rapidity of providing Personnel Files
to employees, as below. But it involves information that was provided in
confidence and | am duty bound to obtain her permission to provide her
identity or for me to obtain it elsewhere.

Basically, there has never been a case in the Parker store where an
employee requested permission to view his or her personnel file and was
not granted immediate access. My file was withheld for over three months.
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E. ADMINISTRATIVE PROCEDURES

Did you file a charge of discrimination against defendant(s) with the Equal Employment
Opportunity Commission or any other federal or state agency? (check one)

lV] ves (You must attach a copy of the administrative charge to this complaint)

LIne

Have you received a notice of right to sue? (check one)

Vv

 

 

Yes (You must attach a copy of the notice of right to sue to this complaint)

 

 

 

No

 

F. REQUEST FOR RELIEF

State the relief you are requesting or what you want the court to do. If additional space is needed
to identify the relief you are requesting, use extra paper to request relief. Please indicate that
additional paper is attached and label the additional pages regarding relief as “F. REQUEST

FOR RELIEF.” .
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LC Dennen A VWwRY.

G. PLAINTIFF’S SIGNATURE

I declare under penalty of perjury that I am the plaintiff in this action, that I have read this

complaint, and that the information in this complaint is true and correct. See 28 U.S.C. § 1746;
18 U.S.C. § 1621.

Under Federal Rule of Civil Procedure 1 1, by signing below, I also certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending or modifying
existing law; (3) the factual contentions have evidentiary support or, if specifically so identified,
will likely have evidentiary support after a reasonable opportunity for further investigation or
discovery; and (4) the complaint otherwise complies with the requirements of Rule 11.

(Table
(Dat) /

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(Revised December 2017)
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F. REQUEST FOR RELIEF.

My long term plans included working another four years in my position as a Sales Specialist, Level Seven
(7).

it is the highest rank (below managerial levels) and is only reached by approximately five (5) percent of
all of the employees. The salary is more than twice the salary of the lower levels, so Sales Specialists are

obviously discouraged from the more menial tasks, such as unloading pallets stocking and gathering
carts, simply on a basis of sound financial efficacy.

The manner in which | was forced out of the store was unnecessarily humiliating and created an

impression that | had done something improper or even illegal. My reputation has been irretrievably
Stained.

1am asking for four year’s salary (“$45,000 X 4) and approximately one and a half year’s salary
(~$70,000) as punitive damages, based on the fact that laws were clearly and intentionally broken and

untruths were purposely generated to destroy my reputation in the community and discriminate against
me.

The fact that I cannot walk without a cane now (... due to a Worker's Comp injury on the job) prevents
me from obtaining an entry level position at a similar store and advancing up to the specialist's level in a
reasonable period of time. The total monetary amount would be $250,000. This financial relief would
not make me whole, but it would represent a fair attempt to recompense me for the unfair

discrimination and discourage the employer from continuing to engage in similar behavior toward
others.

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